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                             Exhibit B
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14
     UNITED STATES OF AMERICA,              No.     2:21-cr-00160 -DMG
15
               Plaintiff,
16                                          DEFERRED PROSECUTION
                     v.                     AGREEMENT
17
     TOUFIC JOSEPH BAAKLINI,
18
               Defendant.
19

20

21   I.   INTRODUCTION
22        1.    This Deferred Prosecution Agreement (the “DPA”) is entered
23   into between the United States Attorney’s Office for the Central
24   District of California (“USAO”) and defendant Toufic Joseph Baaklini
25   (“defendant Baaklini”).      This DPA is entered into only on behalf of
26   the USAO and cannot bind any other federal, state, local or foreign
27   prosecuting, enforcement, administrative, or regulatory authorities.
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                           Statement of Facts


     Between in or around January 2016 and February 2016, TOUFIC

BAAKLINI (“BAAKLINI”) conspired with Gilbert Chagoury

(“Chagoury”), a second individual (“Individual G”), a third

individual (“Individual H”), and others to violate United States

laws by (i) making federal election campaign contributions

exceeding $25,000 in a single year as a foreign national, in

violation of 52 U.S.C. §§ 30109(d)(1)(A), 30121(a)(1)(A); and

(ii) making federal election campaign contributions in the name

of another (conduit contributions), in violation of 52 U.S.C.

§§ 30109(d)(1)(A), 30122.

     At all times relevant to this factual statement, BAAKLINI

knew that Chagoury, a Nigerian-born, billionaire businessperson

of Lebanese descent, was a “foreign national” within the meaning

of 52 U.S.C. § 30121(b) and was therefore prohibited from making

donations and contributions directly or indirectly in support of

any candidate for elective office in the United States.

     In January 2016, Chagoury arranged for $30,000 of his money

to be contributed through other individuals to the re-election

campaign of a U.S. Representative (“Federal Candidate D”).

Chagoury arranged for Individual G to provide $50,000 in cash to

BAAKLINI, which BAAKLINI understood a portion of which would be

used to fund conduit campaign donations to U.S. candidates for

elective office.    BAAKLINI then provided $30,000 in cash to

Individual H in order to contribute the money to Federal

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                           Statement of Facts


Candidate D’s campaign.      BAAKLINI provided the $30,000 in cash

from CHAGOURY to Individual H at a restaurant in Los Angeles,

California in January 2016 and expected Individual H to identify

multiple individuals who could contribute the funds to the

campaign of Federal Candidate D.          After receiving the cash from

BAAKLINI, Individual H hosted a fundraiser for Federal Candidate

D.   During the fundraiser, Individual H, as well as other

individuals Individual H recruited and reimbursed using

Chagoury’s cash, made campaign contributions to Federal

Candidate D’s campaign fund in February 2016 totaling $30,200.

      During the course of events described above, BAAKLINI knew

that it was illegal both for Chagoury to contribute to

candidates for elective office in the U.S. and to make

contributions in the name of other individuals.

      In approximately late February 2016, BAAKLINI saw Federal

Candidate D in Washington, D.C.       Federal Candidate D approached

BAAKLINI and asked BAAKLINI something to the effect of, “Do you

think anything was wrong with the [Individual H-hosted]

fundraiser?”    BAAKLINI replied by falsely stating “no” and then

asked “why?”.    Federal Candidate D further explained the source

of his concern was, something to the effect of, “because it all

came from the same family.”

      Following this exchange in late February 2016, BAAKLINI has

not communicated in any form with Federal Candidate D or anyone

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                           Statement of Facts


acting on Federal Candidate D’s behalf regarding any aspect of

the February 2016 Individual H-hosted fundraiser for Federal

Candidate D.




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